             Case 2:20-cr-00577-JMA                                     Document 95
CJA 30 DEATH PENALTY PROCEEDINGS: APPOINTMENT OF AND AUTiiORITYTO PAY COURT-APPOINTED COUNSEL (Rev. 02/12)
                                                                                                             Filed 04/01/25                   Page 1 of 1 PageID #: 393
I. CIR.JDIST./ DIV. CODE                  2. PERSON REPRESENTED
                                        1 Cesar Humberto Lopez-Larios
                                                                                                                                        I VOUCHER NUMBER

3. MAG. DKT.JDEF. NUMBER                              4. DIST. DKT./DEF. NUMBER                                5. APPEALS DKT./DEF NUMBER                        6. OTHER DKT. NUMBER
                                                    1 20-cr-577
7. IN CASE/MATTER OF (Case Name)                         8. TYPE PERSON REPRESENTED                                     9. REPRESENTATIONTYPE
                                                         ~ Adult Defendant       0 Appellee                             0 DI 28 U.S.C. § 2254 Habeas (Capital) 0 D4 Other (Specify)
 USA v. Henriquez et al                                  O Habeas Petitioner O Other (Specify)                          iif D2 Federal Capital Prosecution     O D7 State Clemency
                                                         0 Appellant                                                    0 D3 28 U.S.C. § 2255 (Capital)        0 D8 Federal Clemency
10. OFFENSE($) CHARGED (Cite U.S. Code, Title & Section) J_fmore than one offense, list (up to five) major offenses charged, according ro severity ofoffense.
 18 U.S.C. 956(a)(1), 1114(1), 1182(a)(3)(B), 2332(b), 2332b, 2339C, 3551 ; 21 U.S.C. 960a; 22 USC 2656(d)(2)
11. ATTORNEY'S NAME (First Name, MI., Last Name,                               12. COURT ORDER
    including any suffix), AND MAILING ADDRESS                                    ~ 0 Appointing CoUllSel                           oc Co-Counsel
                                                                                  0 F Subs For Federal Defender                     OR Subs For Retained Attorney
 Jeffrey Pittell                                                                  0 P Subs For Panel                                DY Standby Counsel
 Maher & Pittell, LLP                                                          Prior Attorney's Name:                                                        Appointment Date:
 42-40 Bell Blvd, Ste 302                                                      (A) Because the above-named person represented has testified under oath or has otheiwise satisfied this Court that he or she (I) is
 Bayside, NY 11 361                                                            financially unable to employ coUllSel and (2) does not wish to waive counsel, and because the interests of justice so require, the
                                                                               attorney whose name appears in Item 11, who has been detemt ined to possess the s pec.ific qualifications by law. is appointed to
                                                                               represent the person in this case.
                                      (516) 829-2299                           (B) The attorney named in Item 11 is appointed to serve as:    0 LEAD COUNSEL             0 CO-COUNSEL
      Telephone Number:
                                                                               Nam• of Co-Counsel
13. NAME AND MAJLING ADDRESS OF LAW FIRM                                       or Lead Counsel:                                                           Appointment Date:
    (Only provide per instn1ctions)                                            (C) If you represented the defendant or petitioner in any prior proceeding related to this matter, attach to your initial claim
                                                                               a listing of those proceedings and descnoe your role in each (e.g., lead in counsel or co-counsel).
                                                                               O (D) Due to the expected length of this case, and the anticipated hardship oncounsel in undertaking representation full-
                                                                               time, for such a period without compensation, interim payments of compensation and expenses are approved pursuant to
                                                                               the attached order.
                                                                                                             Isl Steven Tiscione
                                                                                                        Signature of Presiding Judge or By Order of the Court
                                                                                                    4/1/2025                                           7/17/2024
                                                                                                    Date of Order                                   Nunc Pro Tune Date
                                                                               (E) Repayment or partial repayment ordered from the person represented for this service at time of appointment.
                                                                                                                     0 YES 0 NO
                                                                        CLAIM FOR SERVICES AND EXPENSES
14. STAGE OF PROCEEDING Check the box which corresponds to the stage of the proceeding during which the work claimed at Item 15 was performed even if the work is intended to be
                            used in connection with a later stage of the proceeding. CHECK NO MORE THAN ONE BOX. Submit a separate voucher for each stage of the
                            proceeding.
              CAPITAL PROSECUTION                                              HABEAS CORPUS                                            OTHER PROCEEDING
    a. 0 Pre-Trial        e 0 Appeal                    g.    O Habeas Petition         k. 0  Petition for the    I. 0 Stay of Execution               o. 0 Other (Specify)
    b. 0 Trial            f O Petition forthe           gg. O State Court Appearance          U.S. Supreme Court  m 0 Appeal of Denial of Stay
    C. 0  Sentencing            U.S. Supreme Court      h.    0 Evidentiary Hearing           Writ of Certiorari  n. 0 Petition for Writ of            p O Clemency
    d. 0 Other Post Trial       Writ of Certiorari      i.    O Dispositive Motions                                         Certiorari to the U.S.
                                                        j.    0 Appeal                                                      Supreme Court Regarding
                                                                                                                            Denial of Stay

                          HOURS AND COMPENSATION CLAIMED                                                                                                FOR COURT USE ONLY
                                                                                                                     TOTAL                   MATH/TECH.            MATH/TECH.
                                                                                            HOURS                                                                                            ADDITIONAL
15.    CATEGORIES (Attach itemization ofservices with dates)                                                        AMOUNT                    ADJUSTED              ADJUSTED
                                                                                           CLAIMED                                                                                             REVIEW
                                                                                                                    CLAIMED                    HOURS                AMOUNT
    a. In-Court Hearin2s fR ATE PER HOUR = $                )                                                              0.00                                     IN COURT                   IN COURT
    b. Interviews and Conferences with Client                                                                                                                         TOTAL                      TOTAL
    c. Witness Interviews                                                                                                                                           Category a                  Category a
    d. Consultation with Investi2ators & EYnPrt<                                                                                                                                 0.00
    e. Obtainin<> & Reviewin<> the Court Record
    f. Obtainin2 & Reviewin2 Documents and Evidence                                                                                                               OUT OF COURT             OUT OF COURT
    2. Consultin2 with Exoert Counsel                                                                                                                                TOTAL                    TOTAL
    h. Le<>al Research and Writin<>                                                                                                                                Categories b-j           Categories b-J
    i. Travel                                                                                                                                                                    0.00
    i. Other f'inecifv on additional sheets/
 TOTALS: Cate<>ories b thru i <RATE PER HOUR =              )                 0.00                                              0.00                    0.00
 CLAIM FOR TRAVEL AND EXPENSES (Attaclr itemi,01io11 of exvenses witlr dates/
16. Travel Exoenses (lod!'in<' ~kin<' meals milear,e etc. )
17. Other Exoenses {other than expert, transcripts, etc.)
GRAND TOTALS (CLAIMED AND ADJUSTED):                                                                                       0.00                                                 0.00
18. CERTIFICATION OF ATTORNEY/PAYEE FOR THE PERIOD OF SERVICE                                                  19. APPOINTMENT TERMINATION DATE                              20. CASE DISPOSITION
                                                                                                                   IF OTHER THAN CASE COMPLETION
      FROM:                                               TO:
21. CLAIM STATUS                    0 Final Payment                 0 Interim Payment Number                                                   0 Supplemental Payment
      Have you previously applied to the court for compensation and.for reimbursement for this case?   0 YES         ONO              If yes, were you paid?     0 YES         ONO
      Other than from the Court, have you, or to your knowledge has anyone else, received payment (compensation or anything ofvalue) from any other source in connection with this
      representation?   0 YES         ONO              If )"'S, give details on additional sheets.
      I swear or affirm the truth or cor rectness of the above stat~.    ts.              ..---,.        ,
      Signature of Att01uey                                              ~ / ~;t,4,,                                                                 Date                      4/1/2025
                                                            APPROVED FOR PAYMENT - COURT USE ONLY
22. IN COURT COMP.                     123. OUT OF COURT COMP.                 24. TRAVEL EXPENSES                   25. OTHER EXPENSES                          26. TOTAL AMT. APPROVED
                                                                                                                                                                 $0.00
27. SIGNATURE OF THE PRESIDING JUDGE                                                                                 DATE                                        27a. JUDGE CODE


                                                      c~•I:a'.'."                                                                                                                                  -
